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                     EXHIBIT 22
Volume II Case 1:16-cv-05475-AKH Document 122-1 Filed 09/17/18
                                     Confidential           In rePage 2 of 5Realty Capital
                                                                  American
Edward Rendell                                                   Properties, Inc. Litigation
                                                      Page 308                                                       Page 309
·1· ·UNITED STATES DISTRICT COURT                                ·1· ·_________________________________:
· · ·SOUTHERN DISTRICT OF NEW YORK                               ·2· ·ATLAS MASTER FUND, LTD., et al., : Civil Action No.
·2· ·_________________________________:                          ·3· · · · · · · · · · · · · · · · · · : 1:16-cv-05475-AKH
·3· ·In re AMERICAN REALTY CAPITAL· · :· Civil Action No.        ·4· · · · · · · · · · · ·Plaintiffs,   :
·4· ·PROPERTIES, INC. LITIGATION· · · :· 1:15-mc-00040-AKH       ·5· ·vs.· · · · · · · · · · · · · · · :
·5· ·_________________________________:                          ·6· ·AMERICAN REALTY CAPITAL· · · · · :
·6· ·This Document Relates To:· · · · :                          ·7· ·PROPERTIES, INC., et al.,· · · · :
·7· ·ALL ACTIONS.· · · · · · · · · · ·:
                                                                 ·8· · · · · · · · · · · ·Defendants.   :
·8· ·_________________________________:
                                                                 ·9· ·_________________________________:
·9· ·ARCHER CAPITAL MASTER FUND, L.P.,: Civil Action No.
                                                                 10· ·BLACKROCK ACS US EQUITY TRACKER· : Civil Action No.
10· ·et al.,· · · · · · · · · · · · · : 1:16-cv-05471-AKH
                                                                 11· ·FUND, et al.,· · · · · · · · · · : 1:15-cv-08464-AKH
11· · · · · · · · · · · ·Plaintiffs,   :
                                                                 12· · · · · · · · · · · · · · · · · · :
12· ·vs.· · · · · · · · · · · · · · · : VOLUME II
                                                                 13· · · · · · · · · · · ·Plaintiffs,   :
13· ·AMERICAN REALTY CAPITAL· · · · · :
                                                                 14· ·vs.· · · · · · · · · · · · · · · :
14· ·PROPERTIES, INC., et al.,· · · · :
                                                                 15· ·AMERICAN REALTY CAPITAL· · · · · :
15· · · · · · · · · · · ·Defendants.   :
                                                                 16· ·PROPERTIES, INC., et al.,· · · · :
16· ·_________________________________:
                                                                 17· · · · · · · · · · · ·Defendants.   :
17· ·(Caption continued on the next page)
                                                                 18· ·_________________________________:
18· · · · · ·** CONFIDENTIAL ** CONFIDENTIAL **
                                                                 19· ·CLEARLINE CAPITAL PARTNERS LP,· ·: Civil Action No.:
19· · · ·VIDEOTAPED DEPOSITION OF EDWARD G. RENDELL
20· · · · · · · · · · · April 13, 2018                           20· ·Et al.,· · · · · · · · · · · · · : 1:15-cv-08467-AKH

21· · · · · · · · · ·New York, New York                          21· · · · · · · · · · · ·Plaintiffs,   :

22· · · · · · · · · · · ·8:43 a.m.                               22· ·vs.· · · · · · · · · · · · · · · :

23· ·Reported by:                                                23· ·AMERICAN REALTY CAPITAL· · · · · :

24· ·Eileen Mulvenna, CSR/RMR/CRR                                24· ·PROPERTIES, INC., et al.,· · · · :

25· ·Job No. 10041043                                            25· · · · · · · · · · · ·Defendants.   :


                                                      Page 310                                                       Page 311
·1· ·__________________________________:                         ·1· ·__________________________________:
·2· ·HG VORA SPECIAL OPPORTUNITIES· · ·: Civil Action No.        ·2· ·PIMCO FUNDS: PIMCO DIVERSIFIED:· ·:Civil Action No.
·3· ·MASTER FUND, LTD.,· · · · · · · · : 1:15-cv-04107-AKH       ·3· ·INCOME FUND, et al.,· · · · · · · :1:15-cv-08466-AKH
·4· · · · · · · · · · · ·Plaintiff,· · :                         ·4· · · · · · · · · · · ·Plaintiffs,· ·:
·5· ·vs.· · · · · · · · · · · · · · · ·:                         ·5· ·vs.· · · · · · · · · · · · · · · ·:
·6· ·AMERICAN REALTY CAPITAL· · · · · ·:                         ·6· ·AMERICAN REALTY CAPITAL· · · · · ·:
·7· ·PROPERTIES, INC., et al.,· · · · ·:                         ·7· ·PROPERTIES, INC., et al.,· · · · ·:
·8· · · · · · · · · · · ·Defendants.· ·:
                                                                 ·8· · · · · · · · · · · ·Defendants.· ·:
·9· ·__________________________________:
                                                                 ·9· ·__________________________________:
10· ·JET CAPITAL MASTER FUND, L.P.,· · : Civil Action No.:
                                                                 10· ·TWIN SECURITIES, INC., et al.,· · :Civil Action No.
11· ·et al.,· · · · · · · · · · · · · ·: 1:15-cv-00307-AKH
                                                                 11· · · · · · · · · · · ·Plaintiffs,· ·:1:15-cv-01291-AKH
12· · · · · · · · · · · ·Plaintiffs,· ·:
                                                                 12· ·vs.· · · · · · · · · · · · · · · ·:
13· ·vs.· · · · · · · · · · · · · · · ·:
                                                                 13· ·AMERICAN REALTY CAPITAL· · · · · ·:
14· ·AMERICAN REALTY CAPITAL· · · · · ·:
                                                                 14· ·PROPERTIES, INC., et al.,· · · · ·:
15· ·PROPERTIES, INC., et al.,· · · · ·:
                                                                 15· · · · · · · · · · · ·Defendants.· ·:
16· · · · · · · · · · · ·Defendants.· ·:
                                                                 16· ·__________________________________:
17· ·__________________________________:
                                                                 17· ·JOANNE WITCHKO, Derivatively on· ·:· Lead Case No.:
18· ·PENTWATER EQUITY OPPORTUNITIES· · : Civil Action No.:
                                                                 18· ·Behalf of Nominal Defendant· · · ·:· 15-cv-06043-AKH
19· ·MASTER FUND LTD., et al.,· · · · ·: 1:15-cv-08510-AKH
                                                                 19· · · · · · · · · · · · · · · · · · ·: (Consolidated
20· · · · · · · · · · · ·Plaintiffs,· ·:
21· ·vs.· · · · · · · · · · · · · · · ·:                         20· · · · · · · · · · · · · · · · · · ·:· ·w/Case No.

22· ·AMERICAN REALTY CAPITAL· · · · · ·:                         21· ·AMERICAN REALTY CAPITAL· · · · · ·: 15-cv-08563-AKH)

23· ·PROPERTIES, INC., et al.,· · · · ·:                         22· ·PROPERTIES, INC.,· · · · · · · · ·:

24· · · · · · · · · · · ·Defendants.· ·:                         23· · · · · · · · · · · ·Plaintiff,· · :

· · ·__________________________________:                         24· ·vs.· · · · · · · · · · · · · · · ·:
25                                                               25· ·NICHOLAS S. SCHORSCH, et al.,· · ·:



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Edward Rendell                                                   Properties, Inc. Litigation
                                                 Page 372                                                    Page 373
·1· · · · · significant.                                    ·1· ·BY MR. USLANER:
·2· ·BY MR. USLANER:                                        ·2· · · · · Q.· · ·Do you have an understanding as to
·3· · · · · Q.· · ·Significant wrongdoing?                  ·3· ·what she admitted she did?
·4· · · · · · · · ·MR. GARCIA:· Objection.                  ·4· · · · · A.· · ·No.
·5· · · · · · · · ·MR. SCHWARTZ:· Objection.                ·5· · · · · Q.· · ·Do you dispute her admission that ARCP
·6· ·BY MR. USLANER:                                        ·6· ·misstated its financials?
·7· · · · · Q.· · ·Is that yes?                             ·7· · · · · · · · ·MR. GARCIA:· Objection.
·8· · · · · A.· · ·Again, maybe "serious" is better than    ·8· · · · · · · · ·MR. SCHWARTZ:· Objection.
·9· ·"significant."· I -- suffice it to say, it indicated   ·9· · · · · · · · ·THE WITNESS:· No, I think we indicated
10· ·wrongdoing that was something that we wanted to get    10· · · · · that in the 8-K and in the restatement.
11· ·out to the investor world and to the market.           11· ·BY MR. USLANER:
12· · · · · Q.· · ·Are you -- strike that.                  12· · · · · Q.· · ·Do you dispute her admission that she
13· · · · · · · · ·You recall that Lisa McAlister was the   13· ·committed securities fraud?
14· ·company's chief accounting officer during the time     14· · · · · · · · ·MR. GARCIA:· Objection.
15· ·in which you were on ARCP's board?                     15· · · · · · · · ·MR. SCHWARTZ:· Objection.
16· · · · · A.· · ·For the lion's share of the time I was   16· · · · · · · · ·THE WITNESS:· I don't know the
17· ·on the board.                                          17· · · · · definition of criminal securities fraud.
18· · · · · Q.· · ·Are you aware that Ms. McAlister has     18· ·BY MR. USLANER:
19· ·pled guilty to securities fraud?                       19· · · · · Q.· · ·Do you dispute her admission that she
20· · · · · A.· · ·Yes.                                     20· ·made -- strike that.
21· · · · · Q.· · ·And you understand that she pled         21· · · · · · · · ·Do you dispute her admission that she
22· ·guilty as to securities fraud in connection with her   22· ·made material misrepresentations to investors?
23· ·work at ARCP; correct?                                 23· · · · · · · · ·MR. SCHWARTZ:· Objection.
24· · · · · · · · ·MR. SCHWARTZ:· Objection.                24· · · · · · · · ·MR. GARCIA:· Objection.
25· · · · · · · · ·THE WITNESS:· Yes.                       25· · · · · · · · ·THE WITNESS:· I'm not aware of who
                                                 Page 374                                                    Page 375
·1· · · · · exactly did what, so I couldn't tell you with   ·1· · · · · A.· · ·Yes.· I mean, it was our decision.
·2· · · · · any definitive knowledge that -- what she       ·2· · · · · Q.· · ·And what did you understand you were
·3· · · · · did, but suffice to say that there were         ·3· ·approving in issuing a restatement for the company?
·4· · · · · misrepresentations.                             ·4· · · · · A.· · ·Well, the first -- the first -- well,
·5· ·BY MR. USLANER:                                        ·5· ·we were clearing up the errors that were in the
·6· · · · · Q.· · ·Misrepresentations by the company.       ·6· ·financial statement and admitting that there was --
·7· · · · · · · · ·MR. SCHWARTZ:· Objection.                ·7· ·that they were misleading.
·8· · · · · · · · ·MR. GARCIA:· Objection.                  ·8· · · · · Q.· · ·Are you aware of -- strike that.
·9· · · · · · · · ·THE WITNESS:· Clearly.                   ·9· · · · · · · · ·Do you recall a gentleman by the name
10· ·BY MR. USLANER:                                        10· ·of Brian Block?
11· · · · · Q.· · ·And you'd agree with me that those       11· · · · · A.· · ·Yes.
12· ·misrepresentations were material; right?               12· · · · · Q.· · ·He was the CFO of ARCP while you were
13· · · · · · · · ·MR. GARCIA:· Objection.                  13· ·on the board; correct?
14· · · · · · · · ·MR. SCHWARTZ:· Objection.                14· · · · · A.· · ·For most of the time I was on the
15· · · · · · · · ·THE WITNESS:· Again, subject to          15· ·board.
16· · · · · characterization, but they were -- they were    16· · · · · Q.· · ·Are you aware that Mr. Block was
17· · · · · enough to have us do a restatement.             17· ·convicted of securities fraud?
18· ·BY MR. USLANER:                                        18· · · · · A.· · ·Yes.
19· · · · · Q.· · ·What do you mean by that, "they were     19· · · · · Q.· · ·Do you have an understanding as to the
20· ·enough to have us do the restatement"?                 20· ·conduct for which he was convicted?
21· · · · · A.· · ·It caused us to issue a restatement.     21· · · · · · · · ·MR. SCHWARTZ:· Objection.
22· · · · · Q.· · ·What did you understand -- strike        22· · · · · · · · ·THE WITNESS:· Again, I don't know who
23· ·that.                                                  23· · · · · exactly did what, but it was the conduct
24· · · · · · · · ·You approved of the company's            24· · · · · of -- of -- he was charged with producing
25· ·issuances of a restatement; correct?                   25· · · · · misleading information.


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Edward Rendell                                                   Properties, Inc. Litigation
                                                 Page 376                                                    Page 377
·1· ·BY MR. USLANER:                                        ·1· · · · · Okay?
·2· · · · · Q.· · ·And you agree that he produced           ·2· · · · · · · · ·MR. SCHWARTZ:· I disagree with your
·3· ·misleading information?                                ·3· · · · · characterization.
·4· · · · · · · · ·MR. SCHWARTZ:· Objection.                ·4· · · · · Q.· · ·Okay.· Thank you.· I appreciate --
·5· · · · · · · · ·THE WITNESS:· Absolutely.                ·5· · · · · · · · ·MR. SCHWARTZ:· And this is the first
·6· ·BY MR. USLANER:                                        ·6· · · · · I'm hearing that your position is that I'm
·7· · · · · Q.· · ·When the company issued its              ·7· · · · · not allowed to object, instruct the witness
·8· ·restatements, the restatement you approved, the        ·8· · · · · to maintain the company's privilege.· I think
·9· ·company was not merely reporting a change in           ·9· · · · · that's totally inconsistent with the court's
10· ·management's perspective, it was reporting material    10· · · · · ruling.
11· ·errors; correct?                                       11· · · · · · · · ·MR. USLANER:· If you could please stop
12· · · · · · · · ·MR. GARCIA:· Objection.                  12· · · · · talking on the record.· Thank you.
13· · · · · · · · ·MR. SCHWARTZ:· Objection.                13· ·BY MR. USLANER:
14· · · · · · · · ·Instruct the witness not to answer to    14· · · · · Q.· · ·You understood, sir, that when the
15· · · · · the extent his understanding is based on        15· ·company issued its restatement, the one you
16· · · · · communication with counsel or E&Y.              16· ·approved, it was not merely reporting a change in
17· · · · · · · · ·THE WITNESS:· I'm sorry.· Can you read   17· ·management's perspective, it was reporting material
18· · · · · back the question.                              18· ·errors; correct?
19· ·BY MR. USLANER:                                        19· · · · · · · · ·MR. SCHWARTZ:· Same objection.
20· · · · · Q.· · ·I'm not -- I appreciate your patience.   20· · · · · · · · ·Same instruction.
21· · · · · · · · ·MR. SCHWARTZ:· Objection.                21· · · · · · · · ·THE WITNESS:· Give it to me one more
22· · · · · · · · ·MR. USLANER:· Again, Mr. Schwartz, I     22· · · · · time.· I apologize.
23· · · · · would advise you, he understands your           23· ·BY MR. USLANER:
24· · · · · instruction.· And inserting it each time        24· · · · · Q.· · ·Not a problem.
25· · · · · really is interfering with the deposition.      25· · · · · · · · ·You understood that when the company,
                                                 Page 378                                                    Page 379
·1· ·ARCP, issued its restatement, the one you approved,    ·1· · · · · Q.· · ·Did anyone at ARCP voice any
·2· ·the company was not merely reporting a change in       ·2· ·disagreement with the contents of the restatement?
·3· ·management perspective, it was reporting material      ·3· · · · · A.· · ·No, I think management was keenly
·4· ·errors in its prior financials; correct?               ·4· ·aware that the board wanted to do this.
·5· · · · · · · · ·MR. SCHWARTZ:· Same objection.           ·5· · · · · · · · ·(Exhibit 285, Previously marked.)
·6· · · · · · · · ·Same instruction.                        ·6· ·BY MR. USLANER:
·7· · · · · · · · ·MR. GARCIA:· Objection.                  ·7· · · · · Q.· · ·Sir, I'm handing you what's been
·8· · · · · · · · ·THE WITNESS:· Yes.· And correcting       ·8· ·previously marked as Exhibit 285.
·9· · · · · them with the proper financial statements,      ·9· · · · · · · · ·MR. USLANER:· For the record,
10· · · · · which I think was equally important.            10· · · · · Exhibit 285 has been previously marked, and
11· ·BY MR. USLANER:                                        11· · · · · it bears the Bates Stamp GT-ARCP DOC_00613842
12· · · · · Q.· · ·Did all of the members of ARCP's board   12· · · · · through 3854.
13· ·at the time approve the company's issuance of the      13· · · · · · · · ·(Witness peruses the exhibit.)
14· ·restatement?                                           14· · · · · · · · ·MR. SCHWARTZ:· I believe this document
15· · · · · A.· · ·To the best of my recollection, we       15· · · · · was the subject of an objection at the
16· ·were unanimous.                                        16· · · · · Estrada deposition and the company's position
17· · · · · Q.· · ·Do you recall anyone voicing any         17· · · · · was stated on the record there.· And just
18· ·disapproval with the findings conveyed in the          18· · · · · incorporate that position here as well today.
19· ·restatement?                                           19· · · · · · · · ·MR. GARCIA:· Just for the record, the
20· · · · · A.· · ·No.                                      20· · · · · document goes to 53, but --
21· · · · · Q.· · ·Did anyone -- strike that.               21· · · · · · · · ·MR. USLANER:· Okay.
22· · · · · · · · ·Do you recall having discussions with    22· ·BY MR. USLANER:
23· ·ARCP's management about the restatement prior to its   23· · · · · Q.· · ·Sir, for your reference, I'm going to
24· ·issuance?                                              24· ·be focusing on the presentation by Grant Thornton to
25· · · · · A.· · ·Yes.                                     25· ·the audit committee and specifically the appendix to


                                                                                                     Page 376..379
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Edward Rendell                                                   Properties, Inc. Litigation
                                                        Page 612                                                          Page 613
·1· ·today's questioning of Governor Edward                        ·1· · · · · · · · · C E R T I F I C A T E
·2· ·Rendell.· We are going off the record at 1700                 ·2
·3· ·on this day of Friday, April 13, 2018.                        ·3· ·STATE OF NEW YORK· · ·)

·4                                                                 ·4· · · · · · · · · · · · ·) ss:

·5                                                                 ·5· ·COUNTY OF WESTCHESTER )

·6                                                                 ·6

·7                                                                 ·7· · · · · · ·I, Eileen Mulvenna, CSR/RMR/CRR and a
                                                                   ·8· ·notary public within and for the State of New York,
·8
                                                                   ·9· ·do hereby certify:
·9
                                                                   10· · · · · · ·That I reported the proceedings in the
10
                                                                   11· ·within-entitled matter, and that the within
11
                                                                   12· ·transcript is a true record of such proceedings.
12
                                                                   13· · · · · · ·I further certify that I am not related by
13
                                                                   14· ·blood or marriage to any of the parties in this
14
                                                                   15· ·matter and that I am in no way interested in the
15
                                                                   16· ·outcome of the matter.
16
                                                                   17· · · · · · ·Further, that if the foregoing pertains to
17
                                                                   18· ·the original transcript of a deposition in a federal
18
                                                                   19· ·case, before completion of the proceedings, review of
19
                                                                   20· ·the transcript [X] was [ ] was not requested.
20                                                                 21· · · · · · ·IN WITNESS WHEREOF, I have hereunto set my
21                                                                 22· ·hand this 23rd day of April, 2018.
22                                                                 23
23                                                                 24· · · · · · · · · · · ·------------------------------
24                                                                 · · · · · · · · · · · · · Eileen Mulvenna, CSR/RMR/CRR
25                                                                 25

                                                        Page 614                                                          Page 615
·1· · · · · · ·DECLARATION UNDER PENALTY OF PERJURY                ·1· ·DEPOSITION ERRATA SHEET
·2· ·Case Name: In re American Realty Capital                      ·2· ·Case Name: In re American Realty Capital

· · · · · · · · Properties, Inc. Litigation                        · · · · · · · · Properties, Inc. Litigation
                                                                   · · ·Name of Witness: Edward Rendell
·3· ·Date of Deposition: 04/13/2018
                                                                   ·3· ·Date of Deposition: 04/13/2018
·4· ·Job No.: 10041043
                                                                   · · ·Job No.: 10041043
·5
                                                                   ·4· ·Reason Codes:· 1. To clarify the record.
·6· · · · · · · · ·I, EDWARD RENDELL, hereby certify
                                                                   · · · · · · · · · · 2. To conform to the facts.
·7· ·under penalty of perjury under the laws of the State of       ·5· · · · · · · · · 3. To correct transcription errors.
·8· ·________________ that the foregoing is true and correct.      ·6· ·Page _____ Line ______ Reason ______
·9· · · · · · · · ·Executed this ______ day of                     ·7· ·From _______________________ to ________________________
10· ·__________________, 2018, at ____________________.            ·8· ·Page _____ Line ______ Reason ______

11                                                                 ·9· ·From _______________________ to ________________________
                                                                   10· ·Page _____ Line ______ Reason ______
12
                                                                   11· ·From _______________________ to ________________________
13· · · · · · · · · · · · ·_________________________________
                                                                   12· ·Page _____ Line ______ Reason ______
14· · · · · · · · · · · · · · · ·EDWARD RENDELL
                                                                   13· ·From _______________________ to ________________________
15                                                                 14· ·Page _____ Line ______ Reason ______
16· ·NOTARIZATION (If Required)                                    15· ·From _______________________ to ________________________
17· ·State of ________________                                     16· ·Page _____ Line ______ Reason ______
18· ·County of _______________                                     17· ·From _______________________ to ________________________
19· ·Subscribed and sworn to (or affirmed) before me on            18· ·Page _____ Line ______ Reason ______

20· ·this _____ day of ____________, 20__,                         19· ·From _______________________ to ________________________
                                                                   20· ·Page _____ Line ______ Reason ______
21· ·by________________________,· · proved to me on the
                                                                   21· ·From _______________________ to ________________________
22· ·basis of satisfactory evidence to be the person
                                                                   22· ·Page _____ Line ______ Reason ______
23· ·who appeared before me.
                                                                   23· ·From _______________________ to ________________________
24· ·Signature: ______________________________ (Seal)              24· ·Page _____ Line ______ Reason ______
25                                                                 25· ·From _______________________ to ________________________



                                                                                                                 Page 612..615
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